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 5
                                    UNITED STATES DISTRICT COURT
 6
                                   WESTERN DISTRICT OF WASHINGTON
 7                                           AT TACOMA
 8
 9    UNITED STATES OF AMERICA,
                                                                  CR04-5460FDB
10
                              Plaintiff,
11            vs
12                                                                MINUTE ORDER
      TOBIAS GRACE,
13
      SCOTT LANEY,
14
15                            Defendants.

16
17
              NOW, on this 15th day of July 2005, the Court directs the Clerk to enter the following Minute
18
     Order:
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20           The stipulated motion to continue trial has been granted. The Jury Trial in this matter has been
     continued to November 28, 2005 at 9:00 a.m. Therefore, the Pretrial Conference is rescheduled for
21   November 18, 2005 at 2:30 p.m. The due date for filing the Trial Briefs, Witness List, Exhibit List, any
22   written Stipulations, Motions in Limine, proposed form of Verdict, and proposed Jury Instructions shall
     be November 10, 2005.
23
              The foregoing Minute Order entered at the direction of the Honorable FRANKLIN D.
24
     BURGESS, United States District Judge.
25
                                                                    /s/ Rhonda Miller
26                                                                Rhonda Miller
                                                                  Courtroom Deputy
27
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